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                                                     ONGOING PROJECTS
                                         As the only veterinarian to complete a full fellowship in
                                         Physical Medicine and Rehabilitation, Dr. Lyons is
                                         asked to consult on many unique cases involving veteri-
                                                                                                      Homecoming Farm, Inc.
  PROJECT DEVELOPMENTS                   nary rehabilitation.
                                         Kenya   -     Vaccination program for domestic dogs to
                                         help prevent the spread of canine distemper to lions in      a 501c3 nonprofit organization created to bring together
                                         the face of an epidemic that threatened the indigenous          experts from the human and veterinary medical and
                                         lion population to near extinction. The project was              general sciences professions to establish a newly
                                         successful and the epidemic was arrested.Kenya- A             recognized specialty field in Veterinary Sports Medicine
* Equine Rescue and Shelter Facility     veterinary surgeon went to help set up a clean surgical
                                                                                                              and Rehabilitation to benefit all animals.
Development and Empowerment              room for large animals at the veterinary school in
                                         Nairobi. The surgeon made several trips back to con-
                                         tinue education and services. Homecoming Farm, Inc
                                         donated all services and supplies.
                                         Kenya Consulting services in veterinary rehabilita-
* Veterinary Student and Faculty                 -


                                         tion offered to rescue center in Nairobi adjacent National
Practicum Training in Equine             Park in the rehab care of orphaned elephants due to
Physical Medicine and Rehabilita-        ongoing poaching of adults. Following extensive care
                                         these animals are released in "safe" areas as soon as they
tion                                     can lead independent lives.
                                         England     -     Money was sent to pay direct cost of
                                         feeding farm animals that were not allowed out to pas-
                                         ture, even in non-endemic areas (to try to arrest the
* Creating an AVMA Specialty             spread of disease) in the wake of the recent Foot &
Board in Veterinary Medicine for         Mouth disease outbreak. Farmers did not have sufficient
                                         supplies of feed stored as they had anticipated the return
Physical Medicine, Rehabilitation,       of their animals to pasture. The suicide rate of farmers
and Sports Medicine                      affected by this crisis was tremendous. Homecoming
                                         Farm raised money to help the farmers feed their animals
                                         until other relief could be secured.
                                         Afghanistan Money has been sent to a veterinary
                                                         -




* Physical Therapist Post Graduate       and animal supplies company (Gulf Veterinary Cen-
                                         ter) to help purchase and secure delivery of feed
Training in Animal Physical Ther-        and basic supplies to animals affected by recent
apy                                      events. Animals and veterinary medicine will be
                                         critical in the restructuring and rebuilding of that                   Sheila Lyons PhD, DVM
                                         society.
                                         Spay/neuter programs- Homecoming Farm, Inc.
* Animal Assistance in Global Crisis     helps to secure low cost spay/neuter and vaccinate                       21 Augusta Avenue
Areas and Third World Countries          services for small animals that are often "dumped"                      Brockton, MA 02301
                                         at equine rescue centers that Dr. Lyons offers free                        508-857-1934
                                         services to. When necessary Homecoming Farm
                                         Inc. will cover the cost of these services and helps
* Research Projects in Equine            liaise with local veterinary practices for low cost                www.homecomingfarm.com
                                         services, until the shelter can identify funding
Sports Medicine and Rehabilitation       sources locally. All animals are put into foster
                                         homes until adopted into private homes.
                                                                                                                            A course in Animal Shelter Medicine is being
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                                           rescue shelters were actually inadvertently abusing
                                           these animals.Document      25-11
                                                           The horses had        Filed
                                                                            special     08/28/12
                                                                                    needs and                              Page  4 ofin4 cooperation with other veterinary
                                                                                                                            developed
Dr. Sheila Lyons, the founder and president of Home-          required individual care and intensive veterinary atten-       experts. The lectures and course material devel-
coming Farm, Inc., earned her PhD in Elementary Particle      tion (usually the reason for abandonment or neglect).          oped for Equine Shelter Medicine is especially
and Laser Physics in 1981, and her DVM from Tufts             Most shelters had neither the highly skilled staff nor        important as most horses become shelter resi-
University School of Veterinary Medicine in 1985              the funding necessary to offer the required care. This        dents because they have challenging medical
                                                              led to Dr. Lyons developing care and policy guidelines        problems, as opposed to the primary overpopu-
An extensive background with horses enabled her to            for equine shelters in conjunction with members from          lation we encounter with dogs and cats. Veteri-
quickly develop a successful elite Sports Medicine Prac-      National Humane Organizations. Foundations and                nary Schools are eager to offer these courses.
tice working with horses in Florida, New York, Kentucky       individuals rely on her site visits to ensure funding of
and California. Dr. Lyons' clients sought the best veteri-    responsible and humane programs only. She has                  The current focus of Homecoming Farm, Inc.
nary care for their horses through consult with veterinary    performed evaluations of more than 100 shelters in the         is to pull all of these needs in service, research,
teaching hospitals and other experts in this field. But the   ensuing years and if the groups improve their care             and education together. The comprehensive
practice experience was not fully rewarding, as many          standards she offers free ongoing consulting services          Veterinary Project Equine Shelters will accom-
horses suffering from even minor over-use injuries could      and also donates all veterinary supplies and pharma-           plish this goal with a multitude of purpose.
not fully recover.                                            ceuticals needed by her patients.                              Working together to satisfy all related needs and
                                                                                                                             organizing a structure that looks toward the
Dr. Lyons took a sabbatical from private practice and         Homecoming Farm, Inc. also took in students of all             future will create a wonderful change for ani-
undertook post-doctoral specialty training in Physical        types to teach the special skills involved in this care.       mals of all species, as it will invite all veterinari-
Medicine and Rehabilitation in human medicine, as this        It began as a program that required an owner or                ans to join in this work. Many new skilled jobs
specialty field had not yet developed for veterinarians.      groom to come to the rehabilitation farm to learn skills       will be created through the creation of this new
She partnered with physicians and physiotherapists to         necessary for the patient's continued recovery before          field.
begin developing rehabilitation protocols for horses.         it would be released back into the original stable so
                                                              that the problem did not recur. Very often, the care           Homecoming Farm, Inc. has taken the leader-
This project The Equine Excellence Initiative was the
             -
                                                              and management and subsequent health and well being            ship role in these developments. We anticipate
first organized and controlled study of effective veteri-     of all the horses at this stable would improve, demon-         that this project will become independent ap-
nary rehabilitation and began at her farm in 1989, then       strating the great value of teaching horsemen the basic        proximately five years after the initial structure
located in New Hampshire (it is no longer owned). The         skills involved as well. Most injuries can be prevented        is in place as new boards, associations, founda-
non-profit organization was formed in 1992 to help sup-       by these techniques. Owners' seminars were then                tions and programs develop that are dedicated
port this early research. Horses were taken in at no cost     developed and offered worldwide.                               to this work on local and regional levels.
to their owners. They were patients that had been given
up on by traditional veterinary medicine. Horses were         The veterinary educational programs developed                  Dr. Lyons founded a committee of veterinary
referred by teaching hospitals and private practices. Re-     next, and Dr. Lyons began lecturing at veterinary              experts from the USA who have begun the
sults were dramatic. Many horses had been signed off on       colleges and conferences. Now, ten years following             process of developing a new AVMA recognized
for mortality insurance purposes. One such horse recov-       the initial success based on a small number of horses,         veterinary specialty in Veterinary Sports
ered so well that he competed successfully in the             Dr. Lyons is poised to create a new specialty for              Medicine and Rehabilitation. They have begun
Olympics.                                                     veterinarians, physiotherapists, and horsemen in this          the process to develop curriculum and examina-
                                                              emerging field. She is a founding member of a                  tion procedures and programs so that all quali-
At this point Dr. Lyons needed to find many horses with       committee that will °organize post-doctoral fellow-            fied veterinarians can become experts in this
similar musculo-skeletal problems in order to gain more       ship programs and examination procedures for veteri-           emerging field. A new foundation will be cre-
experience and to refine treatment protocols. She began       narians who wish to become board specialized in this           ated to support this effort and will fund pro-
partnering with Equine Rescue Shelters offering the spe-      new veterinary field. All animals including dogs, cats,        grams dedicated to this work through grants.
cialized care and education to staff members at no cost.      exotic, and wildlife will be included in this specialty        An endowment is now being created for this
Again, the results were wonderful. Many horses that had       research and service. This new board- The American             purpose. Post-doctoral fellowship and resi-
been considered permanent "shelter residents" due to          College of Veterinary Sports Medicine and Rehabilita-          dency programs are expected to be in place at
chronic injury were able to recover well enough to be         tion (ACVSMR) will be separately incorporated but              veterinary schools worldwide in approximately
placed in private companion-type homes as their comfort       will continue to be a project of Homecoming Farm,              3 years (2007).
level improved and care needs diminished. Sadly, another      Inc. until it is fully independent in its aadministration,
finding at this time was that more often than not equine      advisory board and fundraising abilities.
